Case 6:04-cr-00098-JDK-JDL       Document 170      Filed 07/14/05     Page 1 of 1 PageID #:
                                         457


                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


UNITED STATES OF AMERICA                  §
                                          §
                                          §      CRIMINAL ACTION NO. 6:04cr98
v.                                        §
                                          §
SONNY BALDERAS                            §


                                         ORDER

       The above entitled and numbered criminal action was referred to United States

Magistrate Judge Harry W. McKee pursuant to 28 U.S.C. § 636(b)(3). The Report of the

Magistrate Judge which contains his proposed findings of fact and recommendations for the

disposition of such action, has been presented for consideration. The parties have made no

objections to the Report and Recommendation.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge

are correct. Therefore, the Court hereby adopts the Report of the United States Magistrate

Judge as the findings and conclusions of this Court.

       So ORDERED and SIGNED this 14th day of July, 2005.




                            __________________________________
                            LEONARD DAVIS
                            UNITED STATES DISTRICT JUDGE
